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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                          Eastern District of Michigan

United States of America                                            ORDER OF DETENTION PENDING TRIAL
       v.
Khayyam Wilson                                        /                    Case Number: 05-80025
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                      Part I – Findings of Fact
      T (1) I find that:
                 T there is probable cause to believe that the defendant has committed an offense
                 “ for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or _________;
                 T under 18 U.S.C. § 924(c).

      T (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          “ I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         T I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                           Part II – Written Statement of Reasons for Detention
           I find that the credible testimony and information submitted at the hearing established the following factors under 18 U.S.C. §
3142(g):
                     T (a) nature of the offense - Armed robber resulting in homicide by firearm.
                     T (b) weight of the evidence - Strong evidence - eyewitness testimony.
                     T (c) history and characteristics of the defendant -
                              T 1) physical and mental condition - Disabled auto worker - sickle cell anemia.
                              T 2) employment, financial, family ties - Has family ties and employment.
                              “ 3) criminal history and record of appearance -
                     “ (d) probation, parole or bond at time of the alleged offense
                     T (e) danger to another person or community. - Indictment constitutes probable cause that defendant participated in
                              an armed robbery in which a security guard was shot to death. Although other defendants committed the
                              murder, this defendant was armed and assisted in the underlying offense. The death penalty could be
                              sought, and the alternative sentence is life imprisonment. I do not find the presumption in favor of
                              detention is rebutted. The prospect of conviction is great and the motivation to flee is substantial.

                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

            November 15, 2005                                              s/Donald A. Scheer
               Date                                                                Signature of Judge
                                                                           Donald A. Scheer, United States Magistrate Judge
                                                                                Name and Title of Judge
